 Fill in this information to identify the case:

 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 10, 2019                       X /s/ DAVID VALADE
                                                                       Signature of individual signing on behalf of debtor

                                                                       DAVID VALADE
                                                                       Printed name

                                                                       CHIEF FINANCIAL OFFICER
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)               2:19-bk-14401
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,992,508.79

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,992,508.79


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           629,688.97


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             629,688.97




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   Bank of America Operating Account
           3.1.    CC                                                       CHECKING                     7623                                     $1,471.95



                   Bank of America Operating Account
           3.2.    -payroll                                                 CHECKING                     8010                                       $919.84




           3.3.    Bank of America Operating Account                                                     7607                                             $0.00




           3.4.    BANK OF AMERICA IR ACCOUNT                               CHECKING                     7650                                             $0.00




           3.5.    US BANK                                                  CHECKING                     7670                                       $338.00




           3.6.    US BANK                                                  CHECKING                     7746                                       $841.00



 4.        Other cash equivalents (Identify all)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           OXYGEN HOSPITALITY GROUP, INC                                              Case number (If known) 2:19-bk-14401
                  Name




           4.1.     Intercompany Cash Transfer                                                                                      $1,983,232.00




 5.        Total of Part 1.                                                                                                     $1,986,802.79
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepayments                                                                                                          $4,788.00




 9.        Total of Part 2.                                                                                                          $4,788.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                Name



            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Computers, printers, fax machine                                            $4,918.00                                           $918.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                               $918.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor          OXYGEN HOSPITALITY GROUP, INC                                                                       Case number (If known) 2:19-bk-14401
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,986,802.79

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $4,788.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $918.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,992,508.79            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,992,508.79




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)           2:19-bk-14401
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,594.46
           ADVANCED NETWORK SERVICE                                             Contingent
           3514 N. POWER RD, STE 133                                            Unliquidated
           Mesa, AZ 85215
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,135.00
           ANDATO ANALYTICAL DATA                                               Contingent
           14829 N. 54TH PLACE                                                  Unliquidated
           Scottsdale, AZ 85254
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,700.00
           ANGELICA AZUARA                                                      Contingent
           66310 2ND STREET                                                     Unliquidated
           Desert Hot Springs, CA 92240
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $40,144.50
           Claremont Land Group, LLC                                            Contingent
           5861 Pine Ave. Ste A-1                                               Unliquidated
           Chino Hills, CA 91709
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,120.00
          CONCIERGE CONSULTLING, LLC                                            Contingent
          20860 N. TATUM BLVD, STE 300                                          Unliquidated
          Phoenix, AZ 85050
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $199.00
          COX BUSINESS                                                          Contingent
          P.O. BOX 53249                                                        Unliquidated
          Phoenix, AZ 85072-3249
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,625.53
          DAVID VALADE                                                          Contingent
          20860 N. TATUM BLVD, STE 240                                          Unliquidated
          Phoenix, AZ 85050
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REIMBURSEMENT OF EXPENSES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,948.48
          DAVIS MILES, GARDNER                                                  Contingent
          40 E. RIO SALADO PKWAY                                                Unliquidated
          Tempe, AZ 85281
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $62,139.00
          DERRICK JOHN                                                          Contingent
          20860 N. TATUM BLVD, STE 240                                          Unliquidated
          Phoenix, AZ 85050
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UNPAID WAGES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $52.30
          FEDEX                                                                 Contingent
          P.O. BOX 7221                                                         Unliquidated
          Pasadena, CA 91109
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $200,000.00
          JAMES 45 LLC                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    BUSINESS DEBT
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 5
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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $206.47
          JIVE COMMUNICATIONS                                                   Contingent
          P.O. Box 412252                                                       Unliquidated
          Boston, MA 02241
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,606.84
          LIBERTAS LAW GROUP                                                    Contingent
          225 SANTA MONICA BLVD. 5TH FLOOR                                      Unliquidated
          Santa Monica, CA 90401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,887.00
          LIBERTY MUTUAL INSURANCE                                              Contingent
          P.O. BOX 91013                                                        Unliquidated
          Chicago, IL 60680
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $615.00
          LIME GOAT                                                             Contingent
          15879 N. 80TH STREET                                                  Unliquidated
          Scottsdale, AZ 85260
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,150.00
          MARCUM, LLP                                                           Contingent
          750 THIRD AVE, 11TH FLOOR                                             Unliquidated
          New York, NY 10017
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $126,078.48
          NEX INDUSTRIES                                                        Contingent
          905- WEST PENDER STREET, STE 402                                      Unliquidated
          VANCOUVER, BC, V6C 1L6
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $324.06
          PRINCIPAL LIFE INSURANCE COMPANY                                      Contingent
          P.O. BOX 10372                                                        Unliquidated
          Des Moines, IA 50306
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 5
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              Name

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $44,700.00
           R S MARKETING & ASSOCIATES                                           Contingent
           24801 N. 84TH ST                                                     Unliquidated
           Scottsdale, AZ 85255
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,114.00
           SIMMONS & GOTTFRIED                                                  Contingent
           8160 E. BUTHERUS, STE 7                                              Unliquidated
           Scottsdale, AZ 85260
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $75.00
           STAR SERVICES CORP                                                   Contingent
           7363 E. ADOBE DRIVE, STE 115                                         Unliquidated
           Scottsdale, AZ 85255
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,145.00
           TECHNOLOGYVILLE                                                      Contingent
           2733 N. POWER RD, STE 102-191                                        Unliquidated
           Mesa, AZ 85215
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,594.00
           V CORP                                                               Contingent
           25 RBERT PITT DRIVE, STE                                             Unliquidated
           Monsey, NY 10952
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $534.85
           WEST COAST STOCK TRANSFER                                            Contingent
           721 N. VULCAN AVE, STE 205                                           Unliquidated
           Encinitas, CA 92024
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    BUSINESS DEBT
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    629,688.97

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      629,688.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 5
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 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   03/01/2020 5 mos
             lease is for and the nature of               remaining
             the debtor's interest

                  State the term remaining
                                                                                    COX BUSINESS
             List the contract number of any                                        P. O. Box 1259
                   government contract                                              Oaks, PA 19456-1259


 2.2.        State what the contract or                   TELEPHONY SYSTEM
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    JIVE COMMUNICATIONS
             List the contract number of any                                        P.O. Box 412252
                   government contract                                              Boston, MA 02241


 2.3.        State what the contract or                   Yaron Ashkenazi
             lease is for and the nature of               Services Agreement
             the debtor's interest

                  State the term remaining
                                                                                    LY INVESTMENTS
             List the contract number of any                                        27962 N 64th Place
                   government contract                                              Scottsdale, AZ 85266


 2.4.        State what the contract or                   sublease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3 mos
                                                                                    Pinnacle Law, PLLC
             List the contract number of any                                        20860 N. Tatum Blvd, STE 180
                   government contract                                              Phoenix, AZ 85050




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         OXYGEN HOSPITALITY GROUP, INC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

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 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:19-bk-14401
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $831,522.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                                $-17,359.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    MERV CHIA                                                                                      $8,163.00
               20860 N. TATUM BLVD, STE 240
               Phoenix, AZ 85050
               TREASURER

       4.2.    YARON ASHKENAZI                                                                             $130,416.00
               20860 N. TATUM BLVD, STE 240
               Phoenix, AZ 85050
               CHIEF EXECUTIVE OFFICER

       4.3.    DAVID VALADE                                                                                $100,053.00
               20860 N. TATUM BLVD, STE 240
               Phoenix, AZ 85050
               CHIEF FINANCIAL OFFICER

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address




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               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Peter Anadranistakis, 02                         Civil                      MARICOPA COUNTY                             Pending
               Investments, Inc. vs. Merv                                                  SUPERIOR COURT                              On appeal
               Chia , Sandra Tai , Yaron                                                   201 W. JEFFERSON                            Concluded
               Ashkenazi , Liat Ashkenazi,                                                 Phoenix, AZ 85003
               M C Investment Corp, LY
               Investments L L C , Oxygen
               Hospitality Group Inc., David
               Valade , Theresa Valade,
               Derek John,, Oxygen
               Hospitality Group Canada
               Inc., Orion Atlantic Hotels
               Corporation, Oxygen Hotels
               International L L C., Hotel
               Midtown I, L L C ., Hotel
               Midtown I I, L L C., Hotel
               Midtown Management L L C .,
               Midtown Center Properties L
               L C ., Powered By Oxygen
               Management L L C.,
               CV2019-011949

       7.2.    ANGELICA AZUARA VS.                              Civil-UNPAID               RIVERSIDE COUNTY                            Pending
               OXYGEN HOSP. GROUP, INC                          WAGES                      SUPERIOR COURT                              On appeal
               PSS-1901387                                                                 PALM SPRINGS, CA
                                                                                                                                       Concluded

       7.3.    CALIFORNIA EMPLOYMENT                            Civil                      CALIFORNIA DEPT OF                          Pending
               INDUSTR                                                                     INDUSTRIAL RELATIONS                        On appeal
               WM CM 697868                                                                LABOR COMMISSIONER'S
                                                                                                                                       Concluded
                                                                                           OFFICE
                                                                                           464 W 4TH STREET, RM 348
                                                                                           San Bernardino, CA 92401


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                   lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Guidant Law, PLC
                402 E. Southern Ave                                                                                            AUGUST
                Tempe, AZ 85282                                      Attorney Fees-                                            2019                      $2,907.00

                Email or website address
                lamar@guidant.law

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer             Total amount or
               Address                                          payments received or debts paid in exchange              was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
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    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None
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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       CONCIERGE CONSULTLING, LLC
                    20860 N. TATUM BLVD, STE 300
                    Phoenix, AZ 85050
       26a.2.       DAVID VALADE
                    20860 N. TATUM BLVD, STE 240
                    Phoenix, AZ 85050

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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.3.       SUE HARRINGTON
                    20860 N. TATUM BLVD STE 240
                    Phoenix, AZ 85050

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       PROFECTUS WEALTH MANAGMENT
                    1055 W 7th St Suite 3260, Los Angeles, C
                    Los Angeles, CA 90017

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       DAVID VALADE                                   20860 N. TATUM BLVD. STE 240                        CHIEF FINANCIAL OFFICER
                                                      Phoenix, AZ 85050

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       MERV CHIA                                      20860 N. TATUM BLVD, ST E240                        TREASURER
                                                      Phoenix, AZ 85050

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       DERRICK JOHNS                                  20860 N TATUM BLVD, STE 240                         DIRECTOR OF FINANCE
                                                      Phoenix, AZ 85050

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       YARON ASHKENAZI                                20860 N. TATUM BLVD, STE 240                        CHIEF EXECUTIVE OFFICER
                                                      Phoenix, AZ 85050



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in

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    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 10, 2019

 /s/ DAVID VALADE                                                       DAVID VALADE
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CHIEF FINANCIAL OFFICER

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                                          District of Arizona
 In re      OXYGEN HOSPITALITY GROUP, INC                                                                             Case No.       2:19-bk-14401
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 DAVID VALADE                                                                                                                    OWNER
 20860 N. TATUM BLVD, STE 240
 Phoenix, AZ 85050

 MERV CHIA                                                                                                                       OWNER
 20860 N. TATUM BLVD, STE 240
 Phoenix, AZ 85050

 PETER ANADRAKIS                                                                                                                 OWNER



 YARON ASHKENAZI                                                                                                                 OWNER
 20860 N. TATUM BLVD, STE 240
 Phoenix, AZ 85050


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CHIEF FINANCIAL OFFICER of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date December 10, 2019                                                      Signature /s/ DAVID VALADE
                                                                                            DAVID VALADE

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                           District of Arizona
 In re      OXYGEN HOSPITALITY GROUP, INC                                                                       Case No.     2:19-bk-14401
                                                                                    Debtor(s)                   Chapter      11

                                                                                                               Check if this is an
                                                                                                            Amended/Supplemental Mailing List
                                                                                                            (Include only newly added or
                                                                                                            changed creditors.)


                                                           MAILING LIST DECLARATION


            I, the CHIEF FINANCIAL OFFICER of the corporation named as the debtor in this case, do hereby certify, under penalty of

perjury, that the Master Mailing List, consisting of                 3     sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date:       December 10, 2019                                           /s/ DAVID VALADE
                                                                         DAVID VALADE/CHIEF FINANCIAL OFFICER
                                                                         Signer/Title

 Date: December 10, 2019                                                 /s/ D. LAMAR HAWKINS
                                                                         Signature of Attorney
                                                                         D. LAMAR HAWKINS
                                                                         Guidant Law, PLC
                                                                         402 E. Southern Ave
                                                                         Tempe, AZ 85282
                                                                         602-888-9229




MML_Requirements_8-2018                                                                                                                              MML-3

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